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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION
In re:                                  §         Case No. 19-34054-SGJ-11
                                        §
HIGHLAND CAPITAL MANAGEMENT, L.P., §              Chapter 11
                                        §
       Debtor.                          §
                                        §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                        §
       Plaintiff.                       §
                                        §
v.                                      §
                                        §        Adversary No.: 21-03004-sgj
HIGHLAND CAPITAL MANAGEMENT             §
FUND ADVISORS, L.P.                     §
                                        §
       Defendant.                       §

            STIPULATION AND AGREED ORDER GOVERNING DISCOVERY
                         AND OTHER PRE-TRIAL ISSUES

         This stipulation and agreed order (the “Stipulation”) is entered into between Highland

Capital Management, L.P. (the “Debtor”) and Highland Capital Management Fund Advisors, L.P.

(“HCMFA”). The Debtor and HCMFA are collectively referred to herein as the “Parties.”




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                                             RECITALS

         WHEREAS, on April 13, 2021, HCMFA filed a Motion to Withdraw the Reference.

         WHEREAS, on July 8, 2021, the Bankruptcy Court filed its Report and Recommendation

to District Court Proposing that it (A) Grant Defendant's Motion to Withdraw the Reference at

Such Time as Bankruptcy Court Certifies that Action is Trial Ready; and (B) Defer Pretrial

Matters to Bankruptcy Court [Docket No. 50] (the "Report").

         WHEREAS, the Parties intend to complete fact and expert discovery in this adversary

proceeding as governed by this Stipulation.

                                           STIPULATION

         NOW, THEREFORE, IN CONSIDERATION OF THE FOREGOING, THE

PARTIES HEREBY AGREE AND STIPULATE AS FOLLOWS:

         1.       This Stipulation supersedes any prior stipulation or scheduling order governing the

above-referenced adversary proceeding.

         2.       The Parties agree to the following deadlines regarding discovery and other pre-trial

deadlines:

                 Fact depositions will take place between October 1 and October 22, 2021.

                 Expert designations and disclosures of all opinions and the bases therefor, will be
                  made by October 29, 2021, and experts will be deposed between October 29,
                  2021 and November 19, 2021.

         3.       The Parties agree that discovery taken in this case will be consolidated with

discovery taken in the following adversary proceedings and all discovery in each of the adversary

proceedings will be treated as if it was taken in all of the adversary proceedings listed below, so

that each witness will only need to be deposed once and documents produced in any of the

proceedings are usable as if received in every other proceeding:



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                 Highland Capital Management, L.P. v. James D. Dondero, Adv. Pro. No. 21-
                  03003;

                 Highland Capital Management, L.P. v. NexPoint Advisors, L.P., Adv. Pro. No.
                  21-03005;

                 Highland Capital Management, L.P. v. Highland Capital Management Services,
                  Inc., Adv. Pro. No. 21-03006 and

                 Highland Capital Management, L.P. v. HCRE Partners, LLC (n/k/a NexPoint
                  Real Estate Partners, LLC), Adv. Pro. No. 21-03007.

         IT IS SO STIPULATED.




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Dated: August 27, 2021

CONSENTED AND AGREED TO BY:


 /s/ Davor Rukavina                         /s/ John A. Morris
 Davor Rukavina, Esq.                       John A. Morris
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                                            L.P.
 ATTORNEYS FOR DEFENDANT
 HIGHLAND CAPITAL MANAGEMENT
 FUND ADVISORS, L.P.




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                                CERTIFICATE OF SERVICE

        I certify that on August 27, 2021, a true and correct copy of the foregoing document was
served via the Court’s Electronic Case Filing system to the parties that are registered or otherwise
entitled to receive electronic notices in this case.

                                                      /s/ Julian P. Vasek
                                                      Julian P. Vasek




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